Case 1:21-cv-00848-RJJ-RSK ECF No. 1-4, PageID.42 Filed 09/30/21 Page 1 of 3




          EXHIBIT 4
9/30/21, 2:49 Case
              PM   1:21-cv-00848-RJJ-RSK    ECF
                                       Lakeside    No. in
                                                Academy 1-4,  PageID.43
                                                          Kalamazoo has contractFiled   09/30/21
                                                                                pulled after teen's deathPage 2 of 3




 MICHIGAN


Foster care teen's death prompts state to
pull Michigan group home's contract,
license
Associated Press
Published 10:06 a.m. ET June 19, 2020

LANSING, Mich. — Prompted by the death of a teen who was wrongly restrained by staff, a
Michigan facility for teenagers with behavioral problems on Thursday lost its contract with
the state to care for youth in the state’s foster care and juvenile justice systems and its license
to operate.

The termination of the Michigan Department of Health and Human Services’ contract with
Lakeside Academy in Kalamazoo came in the wake of the death last month of Cornelius
Frederick. The 16-year-old went into cardiac arrest while being restrained on April 29 by
Lakeside Academy staff. He died May 1. At the time, authorities said the teen was being
restrained by staff after he threw a sandwich.

In announcing the termination of its contract and suspension of the operating license, Health
and Human Services said an investigation of the for-profit Lakeside Academy found 10
licensing violations, including a failure to follow rules related to resident restraint and
discipline. The agency contends the revocation of the license of a child caring institution is
rare and occurs when there are serious licensing violations that make closure necessary to
protect children.

More: Foster care teen's death draws scrutiny to group home outbreaks: Who is looking out
for these children?

Lakeside Academy officials did not immediately return calls for comment.

“MDHHS continues to mourn the loss of this young man’s life, which came needlessly to an
end at the hands of those meant to care for him” said JooYeun Chang, executive director of
the MDHHS Children’s Services Agency, in a prepared statement. “We are committed to
protecting children and will not accept the completely unnecessary death of a youth who is

https://www.freep.com/story/news/local/michigan/2020/06/19/lakeside-academy-kalamazoo-cornelius-frederick/3221236001/   1/2
9/30/21, 2:49 Case
              PM   1:21-cv-00848-RJJ-RSK    ECF
                                       Lakeside    No. in
                                                Academy 1-4,  PageID.44
                                                          Kalamazoo has contractFiled   09/30/21
                                                                                pulled after teen's deathPage 3 of 3



deprived of the opportunity to grow up, complete his education, begin a career, and start a
family.”

Kalamazoo County Prosecuting Attorney Jeff Getting said Thursday his office is reviewing
completed investigations to determine if criminal charges are authorized in Frederick’s
death.

"If charges are brought, my office will be prosecuting the cases,’’ Getting said.

At the time of Frederick’s death, Lakeside Academy officials said in a statement the incident
didn’t reflect the institution’s mission to ``serve and care for our clients with excellence.”

However, Assistant Chief David Boysen of the Kalamazoo Department of Public Safety has
said in the weeks leading up to Frederick’s death there were numerous calls for false fire
alarms, runaway students and assaults. In addition, three chaotic days followed the boy’s
death, as students fought and fled the facility.

Just before Health and Human Services announced its moves, the Legal Rights Center in
Minneapolis called for Hennepin County, Minnesota, to stop placing children in Lakeside
Academy for juvenile delinquency matters.

The county removed all Minnesota children from the facility after Frederick's death.
However, center officials said that was is enough. They contend it is time to end the practice
of removing children from local communities and confining them in correction facilities
"under the pretense of providing therapeutic treatment."




https://www.freep.com/story/news/local/michigan/2020/06/19/lakeside-academy-kalamazoo-cornelius-frederick/3221236001/   2/2
